Case 4:22-cv-05502-DMR Document 50-7 Filed 12/01/22 Page 1 of 5




                        EXHIBIT 7
                                     Case 4:22-cv-05502-DMR Document 50-7 Filed 12/01/22 Page 2 of 5



                               1   LAWYERS’ COMMITTEE FOR CIVIL
                                   RIGHTS OF THE SAN FRANCISCO BAY AREA
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                                   * admitted pro hac vice
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                                   Attorneys for Plaintiffs
                               8

                               9   Additional Counsel Below

                          10                                    UNITED STATES DISTRICT COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                          11                                         OAKLAND DIVISION
                          12       COALITION ON HOMELESSNESS; TORO                      CASE NO. 4:22-cv-05502-DMR
                          13       CASTAÑO, SARAH CRONK, JOSHUA
                                   DONOHOE, MOLIQUE FRANK, DAVID                        DECLARATION OF JD COBB IN
                          14       MARTINEZ, TERESA SANDOVAL,                           SUPPORT OF THE REPLY IN
                                   NATHANIEL VAUGHN                                     SUPPORT OF PLAINTIFFS’ MOTION
                          15                                                            FOR PRELIMINARY INJUNCTION
                                                          Plaintiffs.
                          16                 v.
                                                                                        Judge:        The Hon. Donna M. Ryu
                          17       CITY AND COUNTY OF SAN FRANCISCO,
                                                                                        Hearing Date: December 22, 2022
                                   SAN FRANCISCO POLICE DEPARTMENT,
                          18
                                   SAN FRANCISCO DEPARTMENT OF                          Time:         1:00 p.m.
                                   PUBLIC WORKS, SAN FRANCISCO                          Place:        Courtroom 4 – 3rd Floor
                          19                                                                          1301 Clay Street
                                   DEPARTMENT OF HOMELESSNESS AND
                          20       SUPPORTIVE HOUSING, SAN FRANCISCO                                  Oakland, CA 94612
                                   FIRE DEPARTMENT, SAN FRANCISCO
                          21       DEPARTMENT OF EMERGENCY
                                   MANAGEMENT, LONDON BREED, in her
                          22
                                   official capacity as Mayor, SAM DODGE, in his
                          23       official capacity as Director of the Healthy
                                   Streets Operation Center (HSOC),
                          24
                                                         Defendants.
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LATHAM&WATKINScc•                                                              COBB DECL.
   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                              CASE NO. 4:22-CV-05502-DMR
                                      Case 4:22-cv-05502-DMR Document 50-7 Filed 12/01/22 Page 3 of 5



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   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                           CASE NO. 4:22-CV-05502-DMR
                                      Case 4:22-cv-05502-DMR Document 50-7 Filed 12/01/22 Page 4 of 5



                               1                                DECLARATION OF JD COBB
                                       I, JD Cobb, hereby declare pursuant to 28 U.S.C. § 1746:
                               2
                                       1.        My name is JD Cobb, and I am 36 years old. All facts set forth in this declaration
                               3
                                    are based upon my personal knowledge, and, if called upon to testify as to the truth of these
                               4    facts, I could and would competently do so.
                               5   Recent Harassment by the City and Property Destruction While Homeless
                               6       1.        I have lost my belongings at the hands of the City numerous times. However, two

                               7    very recent sweeps stand out to me.
                                       2.        In approximately mid-October, 2022, I suffered harassment and property
                               8
                                    destruction at the hands of the City. At the time, I was staying with my partner Darrah Reasor
                               9
                                    on 14th Street and Stevenson Alley.
                          10
                                       3.        Notice was posted at the site, but the notice said the City would not be coming
                          11        until Friday. However, they came around 6 AM on Wednesday, so we were not prepared. We
                          12        were present at the time of the sweep.

                          13           4.        The Department of Public Works (DPW), San Francisco Police Department
                                    (SFPD), and the Homeless Outreach Team (HOT) were all present at the sweep. One of the
                          14
                                    supervisors from the San Fransisco Fire Department (SFFD) was present as well.
                          15
                                       5.        The police watched as we moved our belongings across the street, under the
                          16
                                    direction of DPW. They waited until we had moved everything and had sat down to eat. As
                          17        soon as we did so, though, the police came over and said we had to move elsewhere, or they
                          18        would arrest us and take all our property.
                          19           6.        The HOT team told me that they could not provide me with a shelter offer because
                                    I was not qualified due to an error they made in my paperwork. Nonetheless, they forced me to
                          20
                                    move under threat of arrest.
                          21
                                       7.        DPW took the following belongings of ours that day: our bikes, my welding
                          22
                                    materials, crates with soaps and toiletries, some of our clothes, a Bluetooth speaker, a whole
                          23        bin of shoes, and other household items. They also took my partner, Darrah Reasor’s,
                          24        sentimental photos and jewelry.
                          25           8.        We asked DPW if we could retrieve our belongings, but they told us everything

                          26        would be bagged and tagged at the yard. However, we did not believe them, because they were
                                    throwing everything into the back of their truck in a haphazard manner, and they did not label
                          27
                                    or log anything. Everyone’s belongings were mixed together and would be impossible to
                          28
                                                                                   1
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   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                            CASE NO. 4:22-CV-05502-DMR
                                      Case 4:22-cv-05502-DMR Document 50-7 Filed 12/01/22 Page 5 of 5



                                1   identify later.
                                2       9.        About a week ago, in late October 2022, DPW came through the alley we are

                                3   currently staying at, along Erie Street near South Van Ness Avenue. We got no notice of this
                                    most recent sweep, either verbal or written.
                                4
                                        10.       SFPD blocked off the entrances to the alley, then the DPW trucks moved in.
                                5
                                        11.           They took my expensive electric bicycle, some expensive tools, and some of our
                                6   furniture items that we had set to the side as we prioritized moving our more important
                                7   belongings.
                                8       12.       DPW workers started grabbing our belongings as soon as our backs were turned.

                                9   We received no information on how to retrieve our property.
                                    Reflections on the City’s Conduct
                           10
                                        13.       It is cruel how the City treats people on the streets. They do not think about why
                           11
                                    a person is there and the fact that they have a past. We did not choose to be out here.
                           12           14.       There is so much empty housing here that could be put to use as affordable
                           13       housing.
                           14           15.       The City’s actions are not helping us find permanent housing; they only make it

                           15       harder to get back on our feet.

                           16

                           17
                                        I have reviewed the information contained in this declaration. I declare under the penalties
                           18           of perjury that the contents are true and correct to the best of my knowledge.

                           19           Executed on: October 28, 2022

                           20                                                             _________________
                           21                                                             JD Cobb

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LATHAM & w AT KI N s LLP                                                       COBB DECL.
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      S A N F R A N C ISC O                                             CASE NO. 4:22-CV-05502-DMR
